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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 NETLIST, INC.,                         )
                                        )
             Plaintiff,                 )
                                        )
                                            Case No. 2:21-CV-463-JRG
       vs.                              )
                                        )
                                            JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS CO., LTD.,         )
 SAMSUNG ELECTRONICS AMERICA,           )
                                            Filed Under Seal
 INC., SAMSUNG SEMICONDUCTOR,           )
 INC.,                                  )
                                        )
             Defendants.                )

        PLAINTIFF NETLIST INC.’S REPLY IN SUPPORT OF ITS MOTION
          FOR LEAVE TO AMEND ITS PRELIMINARY INFRINGEMENT
                        CONTENTIONS (Dkt. 130)




                                                          Netlist’s Reply ISO Motion for Leave to Amend ICs
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         To the extent amendment is necessary, Netlist has demonstrated good cause to support its

 motion for leave to amend. Dkt. 130.

         A.      Netlist Acted Diligently in Amending the PICs Which Favors Leave to Amend

         Samsung argues that Netlist “intentionally chose not to disclose its allegedly embodying

 products” and that Netlist has not demonstrated it was diligent. Neither argument holds any water.

         First, Samsung has not pointed to any evidence that Netlist’s “intentionally delayed”

 producing the information in its supplement. This is because no such evidence exists. Netlist provided

 all the information it was aware of at the time it served its PICs. And, when it discovered additional,

 relevant documentation related to conception and reduction to practice, it promptly analyzed those

 documents and supplemented its production and response as soon as it was able to confirm that those

 documents evidenced embodiments of the patents-in-suit. Thus, Samsung’s allegation that Netlist

 “intentionally delayed” discovery to obtain some sort of strategic advantage are entirely unfounded.

         Second, Samsung’s allegations that Netlist has not provided enough evidence that it was

 diligent is also off base. The issue is that Samsung does not believe the representations made by

 counsel in the opening briefing. To remove any debate, Netlist submits with this brief a declaration

 from Netlist’s in-house attorney responsible for document collection and discovery.

         Mr. Sohi explained that it has been a challenging process for Netlist to collect and review

 materials that reflect the design and development of prototypes and products that implement features

 disclosed in the Patents-In-Suit. Sohi Decl. ¶ 5.




                                            Id. ¶ 5. As a result, a document-by-document search of the

 development records must occur to find documents evidencing conception and reduction to practice.

 Id.


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 original PICs. Mtn. at 2-3. Once it was discovered in November 2022, Netlist promptly analyzed those

 documents and supplemented its responses.

         B.      The Proposed Amendment Is Important to Show Netlist’s Invention Story
                 and Samsung’s Willful Infringement

         Samsung does not dispute that Netlist’s supplemental disclosures regarding conception,

 reduction to practice, and embodying products are important for Netlist to show Samsung’s willful

 infringement and support Netlist’s damages claims. See Opp. at 8-9. Instead, Samsung contends that

 Netlist took conflicting positions by stating that the information was not required to be disclosed in

 the infringement contentions. Id. at 9. Samsung misses the point: whether the evidence is important

 to Netlist’s claims at trial is an issue different from what is required to be disclosed under the patent

 local rules.

         Samsung’s argument regarding the ‘060 Patent also missese the point. Netlist’s supplemental

 discovery response identifies presentations Netlist shared with Samsung regarding the subject matter

 disclosed in the ’060 patent, Dkt. 130-2 at 11-12, 26-27, which is relevant to the issue of willfulness,

 regardless of whether Netlist ever sold or offered for sale any products that practice that patent.

         C.      Samsung Has Not Demonstrated Any Prejudice

         Samsung has not identified any legitimate prejudice, which weighs heavily in favor of granting

 Netlist’s request for leave.

         As an initial matter, Samsung’s contention that it did not have enough time to analyze Netlist’s

 supplemental disclosures before depositions or in time to serve follow-up discovery is flatly

 contradicted by the record. Upon receipt of Netlist’s November 15 document production and

 November 21 interrogatory responses, Samsung did not ask to postpone depositions of Netlist’s

 witnesses so that it could have additional time to review Netlist’s supplemental discovery responses.

 Instead, Samsung went forward with those depositions and spent a significant amount of time




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 questioning Netlist’s witnesses on the issues of conception, reduction to practice, and embodying

 products. See, e.g., Dkt. 130-10; Dkt. 130-6 at 118:2-20; Dkt. 130-13 at 99:1-100:12; Dkt. 130-11, at

 243:9-25. Not only did Samsung examine Netlist’s witness on these subjects, it also relied on

 documents Netlist produced and referenced in its interrogatories. For example, during the deposition

 of Mr. Milton,

                                                     . See, e.g., Dkt. 130-05 at 6, 161:16-163:13; 165:7-

 170:17; 180:6-187:11 (

             ). After the depositions, Samsung remained silent and did not ask for any supplemental

 depositions.1

         Similarly, Samsung did not ask Netlist to agree to any extension of time to serve interrogatories

 or other discovery on these issues; nor did it seek any additional document discovery. Indeed, Samsung

 still has not specifically identified what additional discovery it would have sought from Netlist had

 Netlist provided the supplemental production and responses earlier. Instead, Samsung sat on its hands

 until the last day before the fact discovery deadline, and only then raised its intent to strike Netlist’s

 discovery responses. Courts faced with similar situations have found no prejudice and allowed

 amendment. See Opticurrent, LLC v. Power Integrations, Inc., 2017 WL 11392680, at *7 (N.D. Cal. Oct. 3,

 2017) (finding no prejudice in allowing amendment of priority date when defendant had notice prior

 to depositions); Biedermann Techs. GmbH & Co. KG v. K2M, Inc., 2020 WL 1648470, at *2 (E.D. Va.



         1
           In a footnote, Samsung confusingly argues that, even though it took the deposition of the
 inventors after Netlist’s supplemental production, it was still prejudiced because one of the inventors
 supposedly testified that “he did not understand the claims.” Opp. at 10 n.4. Samsung’s out-of-
 context quote does not support its argument. First, the quoted statements were in response to open-
 ended questions about the witness’s preparation, not to any questions on conception and reduction
 to practice. Second, Mr. Lee is an engineer, not a patent attorney, and it is therefore understandable
 that he would not feel comfortable providing a detailed explanation of the claims. Finally, Samsung
 does not explain how this testimony would be impacted by the amount of time Samsung had to review
 Netlist’s supplement before taking Mr. Lee’s deposition.

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 Mar. 16, 2020) (finding the alleged prejudice, if any, is insufficient to exclude the late claims where the

 late assertions were disclosed preceding all expert reports).

         Samsung’s claim that it was somehow prevented from pursuing third-party discovery on these

 issues similarly falls flat. Samsung chose not to serve any third party subpoenas on these issues, despite

 the fact that Netlist served its supplemental responses a month before fact discovery closed. Thus,

 nothing prevented Samsung from seeking third-party discovery other than its own strategic choices.

         The only other alleged prejudice identified by Samsung is that it supposedly didn’t have enough

 time to prepare expert reports on these issues. Samsung announced on the last day of fact discovery

 that it intended to move to strike Netlist’s interrogatory responses on conception and reduction to

 practice served a month earlier. Netlist unilaterally agreed to allow Samsung to file a supplemental

 report if it needed to. Mtn. at 8; Dkt. 130-8. To be clear, Samsung’s opening reports were not due

 until a month after Netlist’s supplemental production and responses, and its rebuttal reports are not

 due until January 24 and January 31, 2023. This offer is still open. If Samsung desires to file a

 supplemental report on conception and reduction to practice, Netlist will consent.

         D.      A Continuation Is Not Needed

         A continuation is not necessary because Samsung has not pointed to any legitimate prejudice

 it has suffered or identified any specific discovery it would seek. Further, trial for this case will not

 start until May 1, 2023. Thus, there is more than sufficient time to conduct any additional discovery

 that the Court might order, and a continuation is not needed.



 Dated: January 16, 2023                            Respectfully submitted,

                                                    /s/ Jason Sheasby

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                                     CERTIFICATE OF SERVICE

           I hereby certify that, on January 16, 2023, a copy of the foregoing was served to all counsel of

 record.

                                                          /s/ Yanan Zhao
                                                          Yanan Zhao

                CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

           I hereby certify that the foregoing document and exhibits attached hereto are authorized to be

 filed under seal pursuant to the Protective Order entered in this Case.

                                                          /s/ Yanan Zhao
                                                          Yanan Zhao




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